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                            EXHIBIT 53




                                     Exhibit 53
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                                                                  SFUND RECORDS CTR
                                                                        1654-92436



                        UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
                                             REGION IX

                                       75 Hawthorne Street
                                     San Francisco, Ca. 94105

       ««   luin 1001                                            SFUND RECORDS CTR
       0 2 AUG 1991                                                88108464

     Dear IAC Member:
          Enclosed are some cost estimates that EPA developed for off-
     site incineration of the McColl waste. These estimates consider
     total waste excavation, on-site storage, tarry waste treatment,
     off-site transport, and off-site incineration for the following
     two potential treatment facilities:
            1) Rollins Environmental Services, Deer Park, Texas
            2)    Chem Waste Management, Kettleman Hills, California
         It should be noted that the Deer Park facility is the
    closest operating commercial incinerator of sufficient size that
    could handle the volume of McColl wastes. Chemical Waste
    Management has applied for permits to construct a commercial
    hazardous waste incinerator at Kettleman Hills. The construction
    of this facility has not been approved to date; however, Chemical
    Waste Management, Inc. has indicated that an operational
    incinerator at Kettleman Hills is anticipated by the first
    quarter of 1993, and that the project is on track and that the
    incinerator "in all likelihood will be built." For this reason,
    cost estimates were developed for the Kettleman Hills facility
    assuming the incinerator will be on line in 1993.
         Some simple assumptions were made to allow the cost
    estimation to occur. The assumptions are as follows:
            1) Rotary kiln incineration was chosen as the
               representative technology type
            2) Excavation under an enclosure would occur as detailed
               in the SITE applications analysis report
            3) Both the tar and char would need to be pretreated
               on-site prior to shipment off-site
            4) The waste material would be shipped off-site via trucks
            5) Ash disposal would be undertaken by incineration company
            6) Incineration capacity is nominally 100 tons/day
            7) Bid and scope contingencies were estimated at 12%

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          8) Costs were assumed to escalate at 5% per year
          9) Incineration costs are estimated at 60 cents/Ib
       Based on the above assumptions, the costs (in millions) for
  the two facilities are as follows:

                         DEER PARK,TX                 KETTLEMAN HILLS, CA

  EXCAVATION AND
  STORAGE                       62                                62

  TAR TREATMENT                  5                                 5

  CHAR TREATMENT                16                                16

  TRANSPORTATION                85                                12

  INCINERATION AND
  ASH DISPOSAL                 392                               392



  TOTAL                     $ 560                            $ 487
  CONTINGENCIES                 67                                58

  TOTAL PLUS
  CONTINGENCIES            $   627                               545
  TOTAL COST WITH
  5% PER YEAR
  ESCALATION               $ 800                             $ 696

  REMEDIAL                6 years                           6 years
  OPERATIONS       (based on 100 tons/day)        (based on 100 tons/day)
  TIMEFRAME
       One of the actions contemplated by the National Contingency
  Plan (NCP) is the screening of remedial alternatives during the
  formulation stage. The NCP details three criteria by which
  alternatives should be evaluated during screening. These
  criteria are effectiveness, implementability and cost. If an
  alternative can not pass one of these screening criteria, then it
  should be eliminated from further consideration.
       The language contained in the NCP {section 300.430 e7(iii)}
  related to the cost criterion! reads as follows:




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             11
            ... Alternatives providing effectiveness and
 implementability similar to that of another alternative by
 employing a similar method of treatment or engineering control,
 but at greater cost, may be eliminated."
      When comparing the on- versus off-site thermal destruction
 (using rotary kiln incineration as the example) alternatives with
 the screening criteria as a guide, EPA has made a determination
 that off-site thermal destruction will no longer be considered a
 viable alternative for the remediation of the McColl site. If
 you look at the effectiveness of the two alternatives, they are
 similar, if not the same, in that all of the hazardous material
 at the site will be permanently removed. When examining the
 implementability criterion the alternatives are similar. Both
 alternatives will be difficult to implement. Implementation of
 on-site thermal destruction will be difficult due to air
 emissions.   Implementation of off-site thermal destruction will
 be difficult due to air emissions and transportation concerns.
 Therefore with the effectiveness and implementability of these
 two options not being significantly different, and the estimated
 cost of off-site thermal destruction being considerable higher,
 it is appropriate to screen out off-site thermal destruction from
 further consideration.
      The final estimated cost of on-site thermal destruction has
 not been calculated, but EPA is confident (due to the fact that
 processing costs for off-site incineration are being quoted at
 $1200/ton while on-site costs are being quoted at $150/ton) that
 it will not approach the 700 to 800 million dollar cost estimated
 for off-site thermal destruction.
      If you have any questions or would like to discuss our
 decision on this issue, feel free to call us at (415) 744-2242 or
 (415) 744-2243, respectively.
                                          Sincerely,
                                                                     t-o-
                                           am Wieman, Project Manager
                                          McColl SuperfMfid*»Site

                                            :eve ixanuer; Project Manager
                                          McColl Superfund Site
 cc :    D. Jones, EPA
       J.
     v/J.   Blevins, EPA
        David Bushey
        Adam Ng, ICF
        Bill Duchie, MSG
        McColl Repository



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                                                      McColl IAC Distribution List

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 Mr.   Robert Merryman      Director              Dept. of Health, Orange Co.       P.O. Box 355                      Santa Ana     CA     92702
 Mr.   Robert Allen                               Orange Co. Env. Health            P.O. Box 355                      Santa ana     CA     92702
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 Ms.   Caroline Rudolph                           DHS/TSCP Special Projects         714/744 P St., Box 942732         Sacramento    CA     94234-7320
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